Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 1 of 9



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 16-CV-20905-KING/TORRES

  CENTER FOR INDIVIDUAL RIGHTS,

         Plaintiff,

  vs.

  IRINA CHEVALDINA,

        Defendant.
  ____________________________________/

             GELBER SCHACHTER & GREENBERG, P.A.’S RESPONSE TO
        THE CENTER FOR INDIVIDUAL RIGHTS’ SECOND MOTION TO COMPEL

         Gelber Schachter & Greenberg, P.A. (“GSG”) files this response to the Center for Individual

  Rights’ (“CIR”) Second Motion to Compel [ECF No. 76].

                                                I. Introduction

         CIR issued a subpoena to GSG for records related to GSG’s representation of a former client,

  Irina Chevaldina.    There are 74 documents responsive to the subpoena.                   GSG created these

  documents while representing Ms. Chevaldina in a litigation in Miami-Dade County Circuit Court.

  CIR’s second Motion to Compel addresses two classes of documents within the 74.

         First, CIR asks the Court to remove GSG’s confidentiality designations for 18 of the 74

  documents, even though CIR is fully able to use those documents in this lawsuit with minimal

  inconvenience. GSG designated the 18 documents as confidential pursuant to an agreed

  confidentiality stipulation between GSG and CIR, and then GSG produced those 18 documents to

  CIR. The 18 documents are all either confidential settlement communications from the state court



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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 2 of 9



  action or relate to confidential settlement communications in that action. Moreover, Ms. Chevaldina,

  as one of the parties to those confidential settlement communications, has expressly directed GSG to

  maintain the confidentiality of the 18 documents.

          GSG has acted appropriately by protecting the confidentiality of these documents, while also

  producing them to CIR so that it could make use of the documents in this lawsuit as it sees fit.

  Consequently, there is no compelling reason for the Court to change the current circumstances

  surrounding these 18 documents. In addition, before making any ruling that would allow for the

  public filing and use of these 18 documents, the Court should allow Ms. Chevaldina an opportunity

  to present her arguments in opposition to such relief.

          Next, CIR asks the Court to overrule all of GSG’s attorney-client and work product privilege

  designations for the 56 remaining documents. The Court should deny CIR’s application to break the

  asserted privilege because all 56 documents were either private legal communications between Ms.

  Chevaldina and her lawyers or attorney work product.

          Notably, for 36 out of the 56 privileged email communications, CIR’s own counsel is a party

  to those email communications. As a result, CIR already has these documents in its possession and

  can use the documents in this lawsuit without seeking to have GSG (a non-party in this case) breach

  the attorney-client privilege with its client.1    Indeed, Ms. Chevaldina, as the holder of the privilege

  in this instance, has expressly invoked the attorney-client privilege and instructed GSG not to

  produce the documents.


  1 With respect to the remaining 20 documents on the privilege log, CIR has indicated that Ms.
  Chevaldina has produced two of the documents directly to CIR. Consequently, CIR actually
  possesses all but 18 of the privileged documents it seeks. The remaining 18 documents are
  privileged documents, and Ms. Chevaldina has expressly instructed that she intends to preserve that
  privilege.
                                                          !2
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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 3 of 9



                                               II. Background

         On August 18, 2017, GSG (which is not a party in this lawsuit) received a subpoena from the

  Center for Individual Rights for the production of various documents created during GSG’s prior

  representation of Irina Chevaldina. GSG represented Ms. Chevaldina in a lawsuit in the Miami-

  Dade Circuit Court (RK/FL Mgmt., Inc., et al. v. Irina Chevaldina, et al., Case No. 11-17842).

         After receiving the subpoena, GSG conducted a search for relevant documents, and, on

  August 31, 2017, GSG served a written response pursuant to Rule 45(d)(2)(B).                    GSG asserted

  various objections and noted that GSG had represented Ms. Chevaldina in the state court action. In

  connection with the response, GSG and CIR conferred and reached a basic agreement on the

  universe of relevant responsive documents.

         Subsequently, Ms. Chevaldina instructed GSG that she objected to producing documents on

  the grounds of confidentiality and privilege, and she directed GSG not to release documents.

  Accordingly, on October 13, 2017, GSG’s counsel informed CIR that GSG was supplementing and

  clarifying its August 31, 2017 written objections under Rule 45(d)(2)(b) to reflect Ms. Chevaldina’s

  objections. GSG’s counsel also informed CIR that GSG would not be producing any documents in

  accord with Ms. Chevaldina’s directions.

         On November 29, 2017, the Court ruled on CIR’s first Motion to Compel and ordered GSG

  to provide more specific responses to the subpoena and to provide a privilege log. As a result, GSG

  amended its responses in accord with the Court’s rulings.             GSG also provided a privilege log

  identifying 56 documents.        All of these 56 documents were communications between Ms.

  Chevaldina and her former lawyers (i.e., GSG, CIR, and Benjamin Kuehne) or contained attorney



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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 4 of 9



  work product. In this way, these communications are all core privileged documents. Further, Ms.

  Chevaldina expressly directed GSG not to waive the privilege for these documents.

         GSG and CIR also entered into a Confidentiality Agreement, and GSG produced 18

  documents to CIR under this agreement. All of these documents arose from the RK/FL Mgmt., Inc.,

  et al. v. Irina Chevaldina, et al. litigation, and all were marked as confidential settlement

  communications in that case.            Ms. Chevaldina specifically directed GSG to maintain the

  confidentiality of these documents.

         In its Second Motion to Compel, CIR asks the Court to remove the confidentiality

  designation from the 18 confidential designated documents. CIR also asks the Court to order GSG

  to produce all of the privileged documents.

         The Court should deny the motion.

                                                 III. Argument

         A. The Applicable Rules of Professional Conduct.

         The commentary to Florida Rule of Professional Conduct 4-1.6 directs: “A fundamental

  principle in the client-lawyer relationship is that, in the absence of the client’s informed consent, the

  lawyer must not reveal information relating to the representation.”

         Florida Rule of Professional Conduct 4-1.9 applies this principle to former clients. It says: “a

  lawyer who has formerly represented a client in a matter must not afterwards: … (c) reveal

  information relating to the representation except as these rules would permit or require with respect

  to a client.” In addition, Florida Rule of Professional conduct 4-1.8 directs that: “A lawyer shall not

  use information relating to representation of a client to the disadvantage of the client unless the client

  gives informed consent, except as permitted or required by these rules.”

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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 5 of 9



         Along these lines, Florida Rule of Professional Conduct 4-1.6 explains: “A lawyer must not

  reveal information relating to representation of a client except [in certain circumstances], unless the

  client gives informed consent.”        Rule 4-1.6(d) says: “When required by a tribunal to reveal

  confidential information, a lawyer may first exhaust all appellate remedies.”

         B. The Documents Designated Confidential.

         GSG’s former client instructed GSG to maintain the confidentiality designations for the 18

  documents that are confidential settlement communications. As a practical matter, CIR already has

  all of these documents, and it is free to use them in this litigation so long as CIR takes certain

  minimal precautions. Consequently, there is no prejudice to CIR if the confidentiality designation

  remains, but GSG would be in direct conflict with its former client if GSG simply agreed to waive

  these designations.

         Furthermore, the 18 documents involve confidential settlement communications with

  plaintiffs and their counsel in the state court action. Those parties, like GSG, are not parties in this

  action, and they continue to have an expectation of confidentiality surrounding communications that

  were plainly labeled as confidential settlement communications. CIR has not indicated that those

  parties have agreed to the production of these documents without a confidentiality designation.

         Therefore, because these documents are subject to confidentiality in another case, and

  because neither Ms. Chevaldina nor the other parties in that case have indicated that they are willing

  to waive the confidentiality of those documents, GSG rightfully produced the documents in this case

  pursuant to a confidentiality agreement and with a confidentiality designation.                       Again, this

  designation in no way prejudices CIR since CIR can use these documents in this case with minimal

  inconvenience. Finally, if the Court is inclined to overrule the confidentiality designations for these

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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 6 of 9



  18 documents, GSG requests that the Court allow Ms. Chevaldina to present her arguments

  regarding the public use of the documents designated confidential.

         C. The Privileged Documents.

         The attorney-client privilege applies to confidential communications made in the rendition of

  legal services to the client. See Southern Bell Tel. & Tel. Co. v. Deason, 632 So. 2d 1377, 1380 (Fla.

  1994). The burden of establishing the privilege is on the proponent of the privilege, who must

  establish the existence of the privilege by a preponderance of the evidence. See Bourjaily v. United

  States, 483 U.S. 171, 175-76 (1987). While not absolute, the privilege has long been understood to

  encourage clients to completely disclose information to their attorneys to allow for the rendition of

  competent legal advice and “thereby promote broader public interests in the observance of law and

  administration of justice.” Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).

         The work product doctrine is distinct from and broader than the attorney-client privilege, and

  it protects materials prepared by the attorney, whether or not disclosed to the client, as well as

  materials prepared by agents for the attorney. See Fojtasek v. NCL (Bahamas) Ltd., 262 F.R.D. 650,

  653 (S.D. Fla. 2009). To decide whether materials are protected, a court must determine when and

  why a contested document was created, and similar to the attorney-client privilege, the burden is on

  the party withholding discovery to show that the documents should be afforded work-product

  protection. See id. at 654.

         In this case, GSG designated 56 documents as protected under either work product or

  attorney-client privilege. As noted on the privilege log, all of these documents are either confidential

  communications between Ms. Chevaldina and her lawyers or contain confidential attorney-client

  communications and work product.

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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 7 of 9



          As indicated above, CIR’s counsel was a party to and has possession of 36 of the emails on

  the privilege log. Consequently, if CIR wishes to use any of the 36 documents in this lawsuit and in

  good faith believes they are not privileged, CIR can use them as it sees fit without involving GSG.

  Similarly, if CIR believes there is any attorney-client privilege issue related to the 36 documents,

  CIR may petition the Court for relief directly without involving GSG.                   Against this practical

  backdrop, the Court should not allow CIR to use its request to GSG (which places GSG at odds with

  its former client) to relieve CIR from its own attorney-client and work product privilege obligations.

          Similarly, CIR claims it has received at least 2 other privileged documents directly from Ms.

  Chevaldina. Again, if CIR believes these 2 documents are no longer privileged, CIR should use

  them as it sees fit, and not ask GSG override its former client’s directions.

          For the remaining 18 documents, there is no factual or legal basis to disregard the privilege.

  The documents are confidential communications between a client and her lawyers regarding a

  lawsuit and issues relating to legal strategy in that lawsuit, and the client has specifically invoked the

  privilege.

          Moreover, because Ms. Chevaldina also has possession of these 18 documents (since she was

  a party to the privileged communications with her attorneys), CIR can request these documents

  directly from Ms. Chevaldina in this lawsuit, and can then litigate any issues regarding the

  documents without burdening GSG. In short, in line with Court’s prior ruling, GSG has properly

  and appropriately listed the documents on a privilege log. There is no legal or factual basis to

  disturb that listing.




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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 8 of 9



         Of course, if the Court believes it is necessary and/or appropriate, GSG will provide the

  Court with copies of the documents listed on the privilege log so the Court can conduct an in camera

  inspection.

         Finally, CIR contends that Ms. Chevaldina has waived her privileges as a result of her actions

  in this dispute with CIR. GSG is not a party to this lawsuit and so it cannot speak to what actions

  she has taken in this case. As a result, the Court should allow Ms. Chevaldina to address the Court on

  this point. To be clear, however, Ms. Chevaldina has explicitly indicated to GSG that she has not

  waived any privilege, particularly with respect to the documents listed on the privilege log.

                                                  IV. Conclusion

         For the foregoing reasons, the Court should deny CIR’s Second Motion to Compel.

                                                               Respectfully submitted,


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Case 1:16-cv-20905-JLK Document 148 Entered on FLSD Docket 04/06/2018 Page 9 of 9




                                      CERTIFICATE OF SERVICE

         I hereby certify that on April 6, 2018, I electronically filed the foregoing motion with the

  Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day on

  all counsel of record identified on the below Service List in the manner specified, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive electronically Notices of

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